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 9
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10   CITY AND COUNTY OF SAN FRANCISCO

11

12                                 UNITED STATES DISTRICT COURT

13                              NORTHERN DISTRICT OF CALIFORNIA

14
      SELINA KEENE, MELODY FOUNTILA,              Case No. 22-cv-01587-JSW
15    MARK MCCLURE,
                                                  JOINT PROPOSED STIPULATION AND
16           Plaintiffs,                          ORDER RE: DISCOVERY RELATING TO
                                                  ELECTRONICALLY STORED
17           vs.                                  INFORMATION

18    CITY and COUNTY OF SAN FRANCISCO
                                                  Filed:             March 14, 2022
19           Defendant.                           Trial Date:        None set

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      JOINT PROPOSED STIPULATION AND ORDER                              n:\labor\li2022\220836\01684836.docx
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 1         JOINT PROPOSED STIPULATION AND ORDER FOR DISCOVERY RELATING TO
                        ELECTRONICALLY STORED INFORMATION
 2

 3           PLAINTIFFS SELINA KEENE, MELODY FOUNTILA, MARK MCCLURE and

 4   DEFENDANT CITY AND COUNTY OF SAN FRANCISCO (collectively, the “parties”) through

 5   their counsel of record, HEREBY AGREE AND STIPULATE AS FOLLOWS:

 6           The parties shall conduct discovery in a cooperative manner in adherence to the proportionality

 7   standards of the Federal Rules of Civil Procedure, this Court’s Guidelines for the Discovery of

 8   Electronically Stored Information, and any other applicable orders and rules and propose that those

 9   provisions shall govern the scope and protocols for preservation and production of electronically

10   stored information (“ESI”) in this case.

11           Nothing herein shall be deemed to limit or waive any party’s right to object to or limit

12   discovery requests, including any requests for ESI.

13   I.      CUSTODIANS
14           The temporal scope of discovery is limited to information created or modified between

15   December 1, 2019 and the present (“Temporal Scope”).

16           It is reasonable and appropriate to limit the scope of discovery of emails and user-created files

17   to the custodians in this case (“Custodians”). A party from whom ESI has been requested shall not be

18   required to search for responsive ESI from sources that are not reasonably accessible without undue

19   burden or cost.

20           The parties shall confer and attempt to reach agreement with respect to which individuals shall

21   be Custodians in this case.

22   II.     PRESERVATION OBLIGATIONS
23           The parties shall take reasonable and proportionate steps to preserve potentially relevant ESI

24   created or modified within the Temporal Scope that is within their possession, custody, or control.

25           The circumstances of this case do not warrant the preservation of ESI that is not reasonably

26   accessible (as defined below) and the parties believe that the remote possibility of additional relevant

27   information existing in not reasonably accessible sources is substantially outweighed by the burden

28   and cost of preservation of ESI from those sources.
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 1          The following ESI is not reasonably accessible: (1) deleted, shadowed, fragmented, residual, or

 2   cached data, temporary files, random access memory (“RAM”), or ESI that would only be accessible

 3   by taking a forensic (bit stream) image of a device; (2) server, system, or network logs; (3) back up

 4   tapes or other storage media used for disaster recovery purposes; (4) online access data such as

 5   temporary internet files, history, cache, cookies, etc.; (5) data in metadata fields that are frequently

 6   updated automatically, such as last-opened dates; and (6) other forms of ESI whose preservation

 7   requires extraordinary affirmative measures that are not utilized in the ordinary course of business.

 8          The parties will meet and confer about such ESI as additional data sources are identified.

 9   However, nothing herein shall prevent a party from subsequently requesting that ESI identified above

10   be produced if specific facts demonstrate a particular need for such ESI that justifies the burden of

11   production. Further, nothing herein shall prevent a party from requesting and receiving additional

12   detail and explanation from the producing party regarding any of the above items that would allow the

13   requesting party to further evaluate the substance of the information and the burden and costs of

14   producing this information.

15   III.   ESI COLLECTION, PROCESSING, REVIEW AND PRODUCTION
16          A.      Scope
17          The parties shall identify and collect any relevant ESI from the Custodians that is within their

18   possession, custody, or control.

19          B.      Email and User-Created Files
20                  1.      ESI Processing, Filtering, and Review Methodology
21          The process for the identification, review, and production of responsive email and user-created

22   files may consist of any of the following processes selected by the producing party: (1) loading of ESI

23   into a review platform; (2) the application of file type, date, and other metadata filters; (3) the use of

24   search terms; (4) deduplication of identical files; (5) the use of analytics technologies, including email

25   threading, clustering, categorization, technology assisted review, predictive coding, continuous active

26   learning, and artificial intelligence; and (6) attorney review.

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 1          Attorneys will review the results of the above efforts for privilege or other protection from

 2   disclosure and all responsive, non-privileged ESI shall be produced in the format described below in

 3   Section III(B)(4).

 4                    2.     Search Terms
 5          The parties shall confer and attempt to reach agreement on a set of search terms to be used to

 6   identify email and user-created files that are responsive to written discovery in this case.

 7          In the event a party determines in good faith after an agreement between the parties on a set of

 8   search terms has been reached that additional search terms are necessary to identify responsive

 9   information, or determines that modifications to any search terms are necessary in order to avoid

10   disproportionate or undue burden and expense associated with the review and production of the results

11   of those search terms, counsel will meet and confer in an effort to agree upon additional terms or

12   modifications.

13                    3.     Deduplication
14          The parties shall make good faith efforts to de-duplicate ESI to the extent that it is possible,

15   meaning that only one copy of a document may be produced even if the same document is within other

16   custodians’ ESI.

17                    4.     Format of Production
18          The parties shall make all reasonable efforts to produce documents in accordance with the

19   specifications identified in this section. ESI will generally be produced in single-page TIFF or PDF

20   format (300 DPI resolution) with corresponding document-level extracted text and a Concordance-

21   delimited DAT file containing the metadata fields outlined in Exhibit A.

22
            a.        All spreadsheets and multimedia files shall be produced in native format with an
23
                      associated placeholder image.
24
            b.        All hidden text (e.g. track changes, hidden columns, mark-ups, notes) shall be
25                    expanded and rendered in the image file.

26          c.        All non-graphic embedded objects (Word documents, Excel spreadsheets, .wav
                      files, etc.) that are found within a file shall be extracted and produced. For
27                    purposes of production, the embedded files shall be treated as attachments to the
                      original file, with the parent/child relationship preserved.
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            d.      Any data (whether individual files or digital containers) that is protected by a
 1                  password, encryption key, digital rights management, or other encryption
 2                  scheme, shall be decrypted prior to processing for production, to the extent
                    possible.
 3
                    5.      Redacted Documents
 4

 5          Documents that contain redactions, including any associated family members, will be produced
 6   in single-page TIFF or PDF format (300 DPI resolution) with corresponding document-level extracted
 7   text and a Concordance-delimited DAT file containing the metadata fields outlined in column
 8   “Provide if Redacted” field of Exhibit A to the extent that such metadata fields are not part of the
 9   redaction.
10          To the extent a party deems production of redacted TIFF images of Excel spreadsheets
11   significantly degrades the usability of the document, the party may redact the Excel spreadsheet
12   natively using industry standard tools.
13          C.      Structured Database
14          Information from structured database systems shall be produced through existing report
15   formats available in the associated applications, including but not limited to Microsoft Excel
16   spreadsheet or delimited text format, if available. If a receiving party believes the format of a
17   produced report is inadequate or does not fully respond to a discovery request, the parties shall meet
18   and confer regarding other methods to produce responsive information from the database systems.
19

20   IV.    Additional Considerations

21          A.      Documents Protected from Discovery

22          Pursuant to Fed. R. Evid. 502(d), the production of a privileged or work-product-protected
23   document, whether inadvertent or otherwise, is not a waiver of privilege or protection from discovery
24   in this case or in any other federal or state proceeding. For example, the mere production of privileged
25   or work-product-protected documents in this case as part of a mass production is not itself a waiver in
26   this case or in any other federal or state proceeding.
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 1          Communications involving trial counsel that post-date the filing of the complaint need not be

 2   placed on a privilege log. Communications may be identified on a privilege log by category, rather

 3   than individually, if appropriate.

 4          B.      Metadata
 5          Metadata can easily be altered unintentionally or inadvertently and can be extracted when

 6   native files are converted to an image file. Metadata can also be highly volatile and easily altered in

 7   the collection process. The parties shall take reasonable steps to preserve the metadata fields listed in

 8   Exhibit A for email and user-created files to the extent it is relevant, available, and has been

 9   maintained in the ordinary course of business.

10          C.      Continued Operation of Systems
11          Nothing herein shall prohibit the following actions taken in the ordinary course of business: (1)

12   routine maintenance, operation, or replacement of computer systems or equipment; and (2) upgrading,

13   loading, reprogramming, customizing, or migrating software, even if such actions modify or alter the

14   way in which ESI is maintained, stored, or viewed, provided the integrity of relevant ESI is reasonably

15   maintained.

16          D.      Spam and Virus Filtering
17          Absent compelling circumstances and upon notice by a requesting party to a producing party,

18   any message, attachment or other ESI that has been identified by a spam or virus filter shall be treated

19   as per se non-responsive and a party shall not be required to preserve or produce such ESI, except as to

20   those spam documents that are clearly relevant to issues in the complaint.

21          E.      Liaisons
22          The parties have identified liaisons to each other who are and will be knowledgeable about and

23   responsible for discussing their respective ESI. Each e-discovery liaison will be, or have access to

24   those who are, knowledgeable about the technical aspects of e-discovery, including the location,

25   nature, accessibility, format, collection, search methodologies, and production of ESI in this matter.

26   The parties will rely on the liaisons, as needed, to confer about ESI and to help resolve disputes

27   without court intervention.

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 1    Dated: June 21, 2023                     PACIFIC JUSTICE INSTITUTE

 2
                                               By: /s/Russel Davis
 3                                                 RUSSEL DAVIS
 4                                                 KEVIN T. SNIDER
                                                   Attorneys for Plaintiffs
 5

 6   Dated: June 21, 2023

 7                                                DAVID CHIU
                                                  City Attorney
 8                                                JAMES M. EMERY
                                                  LAUREN E. WOOD
 9                                                ADAM SHAPIRO
                                                  Deputy City Attorneys
10

11
                                              By: /s/ Adam Shapiro
12                                               ADAM SHAPIRO

13                                                Attorneys for Defendant
                                                  CITY AND COUNTY OF SAN FRANCISCO
14

15

16                   ATTESTATION PURSUANT TO N.D. CAL. LOCAL RULE 5-1
17          I, Adam Shapiro, am the ECF User whose ID and password are being used to file this
18   Stipulation and [Proposed] Order. In compliance with N.D. Cal. Local Rule 5-1(i)(3), I attest that
19   Gary T. Snider has read and approved this document and consents to its filing in this action.
20
     Dated: May 31, 2023
21
                                                  DAVID CHIU
22                                                City Attorney
                                                  JAMES M. EMERY
23                                                LAUREN E. WOOD
                                                  ADAM SHAPIRO
24                                                Deputy City Attorneys
25
                                              By: /s/ Adam Shapiro
26
                                                 ADAM SHAPIRO
27
                                                  Attorneys for Defendant
28                                                CITY AND COUNTY OF SAN FRANCISCO
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 1
              ORDER FOR DISCOVERY RELATING TO ELECTRONICALLY STORED
 2                                 INFORMATION
 3          The above JOINT PROPOSED STIPULATION AND ORDER FOR DISCOVERY
 4
     RELATING TO ELECTRONICALLY STORED INFORMATION is approved as the Order
 5
     governing Electronically Stored Information for this case and all parties shall comply with its
 6
     provisions.
 7

 8

 9   PURSUANT TO STIPULATION, IT IS SO ORDERED.
10

11   Date: June 22, 2023
12                                                           HONORABLE ROBERT M. ILLMAN
                                                             United States Magistrate Judge
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      JOINT PROPOSED STIPULATION AND ORDER                                         n:\labor\li2022\220836\01684836.docx
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                                                                   EXHIBIT A

                                                       METADATA FIELDS
                                                                                                                     Other   Provide if
Field name       Field Description                     Field Type         Field Value           Hard Copy   E-mail
                                                                                                                     ESI     Redacted
                 Custodian(s)/Source(s) - format:
CUSTODIAN                                              Text               160                   x           x        x       x
                 Last, First or ABC Dept.
AUTHOR           Creator of the document               Text               500                                        x
                 Start Bates (including prefix) -
BEGDOC#                                                Text               60                    x           x        x       x
                 No spaces
                 End Bates (including prefix) - No
ENDDOC#                                                Text               60                    x           x        x       x
                 spaces
PGCOUNT          Page Count                            Number             10                    x           x        x       x
                 Contains the Group Identifier for
GROUPID          the family, in order to group e-      Text               60                                x        x       x
                 mails with their attachments

                 Contains the Document Identifier
PARENTID                                               Text               60                                x        x       x
                 of an attachment’s parent

                 Start Bates number of first
BEGATTACH                                              Text               60                    x           x        x       x
                 attachment
                 End Bates number of last
ENDATTACH                                              Text               60                    x           x        x       x
                 attachment
                 Identifies whether the document
REDACTIONS                                             Boolean            10                    x           x        x       x
                 contains redactions.
                 Author - format: Last name, First
FROM                                                   Text               160                               x        x
                 name
                 Recipient- format: Last name,         Text – semicolon
TO                                                                        Unlimited                         x        x
                 First name                            delimited
                 Carbon Copy Recipients - format:      Text – semicolon
CC                                                                        Unlimited                         x        x
                 Last name, First name                 delimited
                 Blind Carbon Copy Recipients -        Text – semicolon
BCC                                                                       Unlimited                         x        x
                 format: Last name, First name         delimited
SUBJECT          Subject/Document Title                Text               Unlimited                         x        x
                 Last Modified Date for files and                         MM/DD/YYYY
                 Sent date for e-mail, this field
DOCDATE                                                Date                                                 x        x
                 inherits the date for attachments
                 from their parent.
                 Relative file path of the text file
TEXT FILEPATH    associated with either the            Text               Unlimited             x           x        x       x
                 extracted text or the OCR
                 Date Sent (Use Time Zone of
DATE TIME SENT                                         Date and Time      MM/DD/YYYY HH:MM:SS               x
                 Collection Locality)
                 Date Created (Use Time Zone of
DATE TIME CRTD                                         Date and Time      MM/DD/YYYY HH:MM:SS               x        x
                 Collection Locality)
                 Date Last Modified (Use Time
DATE TIME MOD                                          Date and Time      MM/DD/YYYY HH:MM:SS               x        x
                 Zone of Collection Locality)
FILE SIZE        Native File Size in bytes             Number             10                                         x       x
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                                                                                                      Other   Provide if
Field name       Field Description                    Field Type   Field Value   Hard Copy   E-mail
                                                                                                      ESI     Redacted
                 File name - name of file as it
FILE NAME                                             Text         Unlimited                          x       x
                 appeared in its original location
                 Extension for the file (e.g. .doc,
FILE EXTENSION                                        Text         10                        x        x       x
                 .pdf, .wpd)
                 Relative file path location to the
NATIVE LINK                                           Text         Unlimited                 x        x       x
                 native file
                 MD5 Hash value (used for
                 deduplication or other
MD5 HASH         processing) (e-mail hash values      Text         Unlimited                 x        x       x
                 must be run with the e-mail and
                 all of its attachments)
